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 1
 2
 3                              UNITED STATES DISTRICT COURT
 4                             EASTERN DISTRICT OF WASHINGTON
 5
 6   UNITED STATES OF AMERICA,

 7                Plaintiff,                      NO. 2:17-CR-00022-JLQ

 8                                                ORDER GRANTING MOTION FOR
                  v.                              PROTECTIVE ORDER
 9
10   MANTEJPAL SINGH KALKAT, and
     PATRICIA ANN KALKAT,
11                Defendant.
12
           BEFORE THE COURT are the Government’s Motion for Protective Order and
13
     Motion to Expedite (ECF No. 53 & 54). The Motion for Protective Order (hereafter
14
     “Motion”) requests the court to issue a protective order “over the discovery in this case.”
15
     (ECF No. 53, p. 1). The Government states it has discussed the Motion with counsel for
16
     both Defendants and there are no objections. Although the Motion at times uses broad
17
     language, the focus of the requested protective order is “voluminous communications”
18
     recorded by DEA agents which would likely identify the confidential informant. The
19
     Government represents the Motion is necessary to protect the confidential informant.
20
           IT IS HEREBY ORDERED:
21
           1. The Motion to Expedite (ECF No. 54) is GRANTED.
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           2. The Motion for Protective Order (ECF No. 53) is GRANTED.
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           3. The Government shall continue to produce discovery materials on an on-going
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     basis as previously directed.
25
26


     ORDER - 1
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 1         4. This Protective Order shall apply to discovery materials produced subject to this
 2 Order or designated “confidential” by the Government, including recordings involving the
 3 confidential informant.
 4         5. Defense counsel may possess, but not copy (excluding the production of
 5 necessary working copies) the discovery materials, including sealed documents.
 6         6. Defense counsel may show to, and discuss with the Defendants the discovery
 7 materials, including sealed documents.
 8         7. Defense counsel shall not provide original or copies of discovery materials
 9 directly to the Defendants.
10         8. Defense counsel shall not otherwise provide original or copies of the discovery
11 materials to any other person, including subsequently appointed or retained defense
12 counsel, but excluding staff of defense counsel or investigator(s)/expert(s) engaged by
13 defense counsel, who will also be bound by the terms and conditions of this Order.
14         9. The Government and defense counsel may reference the existence and content of
15 sealed discovery materials in open and closed court proceedings relevant to this case. Any
16 reference to the content of protected discovery shall be filed under seal, until further Order
17 of the court.
18         10. The Government shall forthwith furnish any previously withheld discovery to
19 counsel for the Defendants.
20         11. The parties may seek release from this Order for good cause shown.
21         IT IS SO ORDERED. The Clerk is hereby directed to enter this Order and furnish
22 copies to counsel.
23         DATED this 15th day of March, 2017.
24                                s/ Justin L. Quackenbush
                                JUSTIN L. QUACKENBUSH
25                       SENIOR UNITED STATES DISTRICT JUDGE
26


     ORDER - 2
